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THE LAW OF AIMEE P. LEVINE
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Attorneys for China CITIC Bank International Limited


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
______________________________________________

In re:                                                                Chapter 11

CHINA FISHERY GROUP LIMITED                                           Case No. 16-11895 (JLG)
(CAYMAN), et al.
                                                                      Jointly Administered
                         Debtors.

______________________________________________

         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
             PURSUANT TO §1109(B) OF THE BANKRUPTCY CODE AND
                      BANKRUPTCY RULES 2002 AND 9010

         PLEASE TAKE NOTICE that the undersigned hereby appears as counsel to China

CITIC Bank International Limited, a party-in-interest in the above-captioned case and, pursuant

to 11 U.S.C. §1109(b) and Federal Rules of Bankruptcy Procedure 2002 and 9010(b), hereby

requests that all pleadings and other papers (however designated) filed in these cases, as well as

notices given or required to be given in these cases, be given and served upon the undersigned at

the following address:

                                        Aimee P. Levine, Esq.
                                  The Law Office of Aimee P. Levine
                                    5 Columbus Circle, Suite 710
                                         New York, NY 10019
                                      212.965.9696 (Telephone)
                                      212.320.0310 (Facsimile)
                                       alevine@alevinelaw.com

         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only

notices and papers referred to in the Bankruptcy Code or Bankruptcy Rules, but also includes,
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without limitation, orders and notices of any applications, motions, petitions, pleadings, requests,

complaints or demands, replies, answers, schedules of assets and liabilities, statements of affairs,

operating reports and plans, and any other documents brought before the Court with respect to

these cases, whether formal or informal, whether written or oral, and whether transmitted or

conveyed by mail, hand delivery, telephone, facsimile, e-mail or otherwise.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and any

subsequent appearance, pleading, claim or suit is not intended nor shall be deemed to waive any

substantive or procedural rights of China CITIC Bank International Limited, including but not

limited to: (i) the right to have final orders in non-core matters entered only after de novo review

by a District Court Judge; (ii) the right to trial by jury in any proceedings in any case,

controversy or proceeding related to the case where permitted; (iii) the right to have the reference

withdrawn by the United States District Court in any matter subject to mandatory or

discretionary withdrawal; or (iv) other rights, claims, actions, defenses, setoffs or recoupments to

which China CITIC Bank International Limited is or may be entitled under agreements, in law or

in equity, all of which rights, claims, actions, defenses, setoffs and recoupments expressly are

hereby reserved.

Dated: August 28, 2016

                                              THE LAW OFFICE OF AIMEE P. LEVINE

                                              By: /s/Aimee P. Levine
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